Attorney for Plaintiff sai

> || 5455 Wilshire Boulevard, Suite 914 S oF pe

Los Angeles, CA 90036 [| 2 =

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Named UNITED STATES DISTRICT COURT =
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O D ait CENTRAL DISTRICT OF CALIFORNIA | =a ©

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Amir J. Goldstein, Esq. (CA Bar No. 255620)

NORMA GUZMAN, individually andon ) CASE NO.:

behalf of all others similarly situated, e- eV 0 g- 0 7 Q 7 9 p S G (RT )
. vr LX

Plaintiff,

v. COMPLAINT FOR DAMAGES

CENTRAL CREDIT SERVICES, INC. 1

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through 20, inclusive, )
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Defendants.

 

Plaintiff, by and through her attorneys, Amir J. Goldstein, Esq., as and for his complaint
against the Defendants, CENTRAL CREDIT SERVICES, INC., alleges as follows:

INTRODUCTION
1. This is an action for damages brought by an individual consumer and on behalf of
a class for defendant's violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et

seq. ("FDCPA") which prohibits debt collectors from engaging in abusive, deceptive and unfair

practices.

PARTIES

z Plaintiff is a natural person residing in San Pedro, California.

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Class Action Complaint for Damages

Case 2:08-cv-07879-PSG-RZ Document1 Filed 12/01/08 Page1of12 Page ID #1

 

 

 

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3. Upon information and belief, defendant is a debt collector as defined pursuant to
15 U.S.C. § 1692a(6) with its executive office and principal place of business in Jacksonville,

Florida.

JURISDICTION
4. This Court has jurisdiction pursuant to 15 U.S.C. § 1692k (FDCPA) and 28
U.S.C. § 1331 and venue is proper in this district pursuant to 28 U.S.C. § 1391 et seq., as the
defendant conducts a business, the nature of which subjects the corporation to jurisdiction in this
district and the transactions that give rise to this action occurred, in substantial part, in this

district.

AS AND FOR A FIRST CAUSE OF ACTION
a Plaintiff realleges paragraphs | through 4 as if fully restated herein.
6. That a personal debt was allegedly incurred by the plaintiff from one Wells Fargo.
a. That at a time unknown to the plaintiff herein, the aforementioned debt was

referred and or assigned to the defendant for collection.

8. That on or about October 7, 2008, the Defendant began contacting the Plaintiff by
phone at her place of employment in regards to the collection of said debt.

9. That Defendant’s agent represented himself as Mr. Josh Fisher and that his
telephone number was (800) 514- 4591, a number belonging to the defendant, and stated that he
was calling in reference to a Wells Fargo credit card debt in the amount of $2000.00 and made
the Plaintiff understand that he was calling from Wells Fargo.

10. That Defendant’s agent failed to advise the consumer that he was calling from a
debt collection agency or that communication was from a debt collection agency.

11. That Plaintiff mentioned to Defendant that she was in a debt settlement program

which should be working on an agreement with Wells Fargo.

Class Action Complaint for Damages

 

 
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Case 2:08-cv-07879-PSG-RZ Document1 Filed 12/01/08 Page 3o0f12 Page ID #:3

12. That Defendant’s persisted in collection of the debt amount and stated that the
“debt settlement was a joke” and that they do not settle.

13. That the Defendant threatened Plaintiff with “property garnishment” and attaching
assets if payment arrangements were not made to him by phone that same day.

14. That Defendant then offered a reduced settlement payment arrangement coupled
with and unlawful and arbitrary transaction fee of $7.00

15. That Plaintiff was terrified at the threats made by Defendant and agreed to make
payment arrangements to Defendant due to such threats of property, wage, and assets
garnishment.

16. That Plaintiff under duress and coercion by Defendant’s misrepresentation
authorized three payments to “Wells Fargo” in the amounts of $200.00 plus $7.00 transaction fee
by 10/09/08, $439.50 plus $7.00 transaction fee by 10/31/08 and $439.50 plus $7.00 transaction

fee by 11/28/08.
17. That on or about October 9, 2008, and October 31, 2008 Defendant’s caused

$207.00, and $446.50, respectively, to be withdrawn from Plaintiff's account by means of cash
debit.

18. That on or about November 5, 2008, Defendant’s agent called the Plaintiff at her
place of employment, and under the impression that Plaintiff had contacted an attorney, and
falsely threatened “why did you send me to an attorney. Now you will have to pay the full
amount.”

19. That the Defendants actions caused additional and unnecessary stress for the
plaintiff and caused her sever shame and embarrassment at her place of employment.

20. That the Plaintiff suffers and has suffered from severe anxiety which was
seriously aggravated by means of Defendants’ conduct.

21. Defendants conduct violates 15 U.S.C. 1692 et seq., including but not limited to

subsections (d), (e), (f) and (g) in that communications to the plaintiff by the defendant are false,

Class Action Complaint for Damages

 
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Case 2:08-cv-07879-PSG-RZ Document1 Filed 12/01/08 Page 4of12 Page ID #4

deceptive, unfair, threatening, and done in furtherance of abusing the plaintiff to coerce payment
of a disputed debt, under duress and harassment.

22. That as per 15 U.S.C. § 1692 et seq. and as a result of the above violation,
defendant is liable to the plaintiff and all members similarly situated for statutory damages in an
amount to be determined at the time of trial but not less that $1,000.00 per violation, plus actual

damages and treble damages, costs and attorney's fees.

AS AND FOR A SECOND CAUSE OF ACTION
23. Plaintiff realleges paragraphs 1 through 25 as if fully restated herein.
24. The Rosenthal Fair Debt Collection Practices Act (Rosenthal Act), California
Civil Code § 1788, et seq., prohibits unfair and deceptive acts and practices in the collection of

consumer debts.

25. By their acts and practices as hereinabove described, the Defendants have violated
the Rosenthal Act as follows, without limitation:

a) In failing to inform consumers that the true identity of the Defendants have
violated § 788.13(i), which prohibits the false representation of the true nature of the business or
services being rendered by the debt collector. Defendants represented themselves as lenders but
failed to disclose the material fact that it is acting as a debt collector with respect to the same
transaction.

b) By failing to include certain debt collection notices and disclosures required by
law.

c) By falsely threatening the consumer with legal action that can not legally be
taken and/or is not actually intended to be taken.

d) By arbitrarily adding unwarranted and unjustifiable transaction fee in the
amount of $7.00.

25. Pursuant to § 788.30 of the Rosenthal Act, Plaintiff is entitled to recover her
actual damages sustained as a result of the Defendants' violations of the Rosenthal Act. Such

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Class Action Complaint for Damages

 
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Case 2:08-cv-07879-PSG-RZ Document1 Filed 12/01/08 Page5of12 Page ID#:5

damages include, without limitation, statutory damages, any actual damages sustained, other
resulting monetary losses and damages, and emotional distress suffered by Plaintiff, which
damages are in an amount to be proven at trial.

26. In addition, because the Defendants' violations of the Rosenthal Act were
committed willingly and knowingly, Plaintiff is entitled to recover, in addition to her actual
damages, penalties of at least $1,000 per violation as provided for in the Act.

27. Pursuant to § 1788.30(c) Rosenthal Act, Plaintiff is entitled to recover all

attorneys' fees, costs and expenses incurred in the bringing of this action.

CLASS ALLEGATIONS

28. — The first cause of action is brought on behalf of plaintiff and the members of a
class.

29. The class consists of consumers who received the same form letter, as did the
plaintiff.

30. The Class consists of all persons whom Defendant’s records reflect resided in the
state of California and who were sent a collection letter (a) bearing the defendant’s letterhead in
substantially the same form as the letter sent to the plaintiff on or about October 7, 2008 and
subsequent letters or phone calls, (b) the collection letter was sent to a consumers seeking
payment of a consumer debt; and (c) the collection letter was not returned by the postal service as
undelivered, (d) and that the letter contained violations of 15 U.S.C. § 1692e by engaging in false
threats of legal action and deceptive practices, 1692g for contradicting and confusing the
consumer as to his/her rights and 1692f for conducting unfair practices in attempt to collect a
debt by means of duress and coercion.

31. Pursuant to Federal Rule of Civil Procedure 23, a class action is appropriate and

preferable in this case because:

(A) Based on the fact that the collection letters that are at the heart of this

Class Action Complaint for Damages

 

 

 
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Case 2:08-cv-07879-PSG-RZ Document1 Filed 12/01/08 Page 6of12 Page ID #:6

litigation are mass-mailed and computer generated form letters, the class is so numerous that
joinder of all members is impracticable.

(B) There are questions of law and fact common to the class and these
questions predominate over any questions affecting only individual class members. The principal
question presented by this claim is whether the Defendant violated the FDCPA by failing to
follow appropriate procedures.

(C) _ The only individual issue is the identification of the consumers who
received the letters, (i.e. the class members), a matter capable of ministerial determination from
the records of Defendant.

(D) The claims of the plaintiff are typical of those of the class members. All
are based on the same facts and legal theories.

(E) The plaintiff will fairly and adequately represent the class members’
interests. The plaintiff has retained counsel experienced in bringing class actions and collection-
abuse claims. The plaintiff's interests are consistent with those of the members of the class.

32.  Aclass action is superior for the fair and efficient adjudication of the class
members’ claims. Congress specifically envisions class actions as a principal means of enforcing
the FDCPA. 15 U.S.C. 1692(k). The members of the class are generally unsophisticated
individuals, whose rights will not be vindicated in the absence of a class action. Prosecution of
separate actions by individual members of the classes would create the risk of inconsistent or
varying adjudications resulting in the establishment of inconsistent or varying standards for the
parties and would not be in the interest of judicial economy.

33. Ifthe facts are discovered to be appropriate, the plaintiff will seek to certify a
class pursuant to Rule 23(b)(3) of the Federal Rules of Civil Procedure.

34. Collection letters, such as those sent by the defendant are to be evaluated by the
objective standard of the hypothetical “least sophisticated consumer.”

35. Defendant violated the FDCPA. Defendant's violations include, but are not

limited to, the following:(g), (e), (d) and (f):

Class Action Complaint for Damages

 
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(a) Defendant violated 15 U.S.C. § 1692f by employing unfair tactics in
attempt to collect a debt;

(b) Defendant violated 15 U.S.C. § 1692e by using false representations and
deceptive means in an attempt to collect a debt;

(c) Defendant violated 15 U.S.C. § 1692g by contradicting plaintiff's rights

(d) Defendant violated 15 U.S.C. § 1692d by harassing the consumer

WHEREFORE, plaintiff respectfully prays that judgment be entered against defendant
in the amount of:

(a) Statutory damages and actual damages pursuant to 15 U.S.C. § 1692k in an
amount to be determined at the time of trial on behalf of the class on the first cause of action.

(b) Statutory damages and actual damages pursuant to Civil Code §1788.30 et seq., as
to the fourth cause of action.

(c) Costs and reasonable attorney's fees pursuant to 15 U.S.C. § 1692k and Civil
Code §1788.30, et seq.

(d) For such other and further relief as may be jyspand proper.

Dated: November 19, 2008

 

 

Amir J. Gol n, Bq.

Attorney for Maintiff

5455 Wilshire Boulevard., Suite 914
Los Angeles, CA 90036

Tel 323.937.0400

Fax 866.288.9194

Class Action Complaint for Damages

 
Case 2:08-cv-07879-PSG-RZ Document1 Filed 12/01/08 Page 8of12 Page ID #:8

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Philip S. Gutierrez and the assigned
discovery Magistrate Judge is Ralph Zarefsky.

The case number on all documents filed with the Court should read as follows:

CVv08- 7879 PSG (RZx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

[Xx] Western Division LJ Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 2:08-cv-07879-PSG-RZ Document1 Filed 12/01/08 Page9of12 Page ID #:9

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

NORMA GUZMAN, individually and on behalf of CASE NUMBER
others similarly situated,
PLAINTIFF(S)
; | CV08-07879 Pop (R2x)
CENTRAL CREDIT SERVICES, INC.

v
| ritkoug RY, Ealteee sit,

 

SUMMONS
DEFENDANT(S).

 

 

TO: DEFENDANT(S): CENTRAL CREDIT SERVICES, INC.

 

A lawsuit has been filed against you.

Within _20 days after service of this summons on you (not counting the day you received it), you

must serve on the plaintiff an answer to the attached @ complaint Oo amended complaint
0 counterclaim O cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer

or motion must be served on the plaintiff's attorney, Amir J. Goldstein , whose address is
5455 Wilshire Blvd., Ste. 914, Los Angeles, CA 90036 . If you fail to do so,
judgment by default will be entered against you for the relief demanded i in oe complaint. You also must file

your answer or motion with the court.

  

Dated: VEC ~1 2008

 

 

Deputy Clerk | v

(Seal of the Court)

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rule 12(a)(3)].

 

CV-01A (12/07) SUMMONS
Case 2:08-cv-07879-PSG-RZ Document1 Filed 12/01/08 Page 10o0f12 Page ID #:10

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NORMA GUZMAN, individually and on behalf of

others similarly situated,
PLAINTIFF@)

v.
CENTRAL CREDIT SERVICES, INC. j

/ TH Rod, tH GY, LAléeLrnsi v4,

DEFENDANT(S).

CASE NUMBER

bevos-07829 Ps¢ (Rzx)

 

 

SUMMONS

 

TO:

A lawsuit has been filed against you.

DEFENDANT(S): CENTRAL CREDIT SERVICES, INC.

Within _20 days after service of this summons on you (not counting the day you received it), you

must serve on the plaintiff an answer to the attached

complaint 0

amended complaint

0 counterclaim O cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer

or motion must be served on the plaintiff's attorney, Amir J. Goldstein
5455 Wilshire Blvd., Ste. 914, Los Angeles, CA 90036

, whose address is
. If you fail to do so,

judgment by default will be entered against you for the relief demanded in the complaint. You also must file

your answer or motion with the court.

Dated: DEC ~ 1 2008

 

[Use 60 days if the defendant is the United States or a United States agency, or 1. eg

60 days by Rule 12(a)(3)].

Clerk, U.S. District Court
LA’REE HORN

 

By:

Deputy Clerk

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CV-01A (12/07)

SUMMONS
Case 2:08-cv-07879-PSG-RZ Document1 Filed 12/01/08 Page 11of12 Page ID #:11
UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

 

CIVIL COVER SHEET
I (a) PLAINTIFFS (Check box if you are representing yourself 0) DEFENDANTS
Norma Guzman, individually and on behalf of others similarly situated CENTRAL CREDIT SERVICES, INC. , é
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SACRA MADTPO, Cr 95-6 49

(b) Attorneys (Firm Name, Address and Telephone Number. If you are representing Attorneys (If Known)
yourself, provide same.)

Amir J. Goldstein, Esq.

5455 Wilshire Blvd., Ste. 914
Los Angeles,, CA 90036

 

 

 

II. BASIS OF JURISDICTION (Place an X in one box only.) Ill. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)
01 U.S. Government Plaintiff 43 Federal Question (U.S. PTF DEF PTF DEF
Government Not a Party) Citizen of This State O1 OQ! Incorporated or Principal Plae O4 O4
of Business in this State
(112 U.S. Government Defendant 4 Diversity (Indicate Citizenship | Citizen of Another State O2 2 Incorporated and Principal Place O5 O5
of Parties in Item III) of Business in Another State
Citizen or Subject of a Foreign Country 03 03 Foreign Nation O06 O86

 

 

IV. ORIGIN (Place an X in one box only.)

M1 Original O12 Removed from 3 Remanded from O04 Reinstatedor (5 Transferred from another district (specify): [6 Multi- O17 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge from
Litigation Magistrate Judge

V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes 0 No (Check ‘Yes’ only if demanded in complaint.)
CLASS ACTION under F.R.C.P, 23: wv Yes O No O MONEY DEMANDED IN COMPLAINT: $.
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

 

VII. NATURE OF SUIT (Place an X in one box only.)

 

 
 

 

 

    
   
    

   
   

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400 State Reapportionment | 110 Insurance PERSONAL INJURY PERSONAL t ETITIC ; Fair Labor Standards
0410 Antitrust 11120 Marine 0310 Airplane PROPERTY 510 Motions to Act
(0430 Banks and Banking 01130 Miller Act 0315 Airplane Product {1} 370 Other Fraud Vacate Sentence {11720 Labor/Mgmt.
1450 Commerce/ICC (1140 Negotiable Instrument Liability 0371 Truth in Lending Habeas Corpus Relations
Rates/etc. 0150 Recovery of 0 320 Assault, Libel & 17] 380 Other Personal |[1 530 General 0730 Labor/Mgmt.
0460 Deportation Overpayment & Slander L Property Damage | 535 Death Penalty Reporting &
(10470 Racketeer Influenced Enforcement of 1330 Fed. Employers’ |r 3g5 Property Damage |(1540 Mandamus/ Disclosure Act
and Corrupt Judgment ee a Product Liability Other (0740 Railway Labor Act
Organizations (1151 Medicare Act 945 saenta reitaes - BANKRUPTCY ~~ |0 550 Civil Rights (1790 Other Labor
(480 Consumer Credit (1152 Recovery of Defaulted Liability n oO 422 Appeal 28 USC | 555. Prison Condition Litigation
0 490 Cable/Sat TV / — Loan (Excl. 1350 Motor Vehicle as a Sal i Empl. Ret. Inc.
0810 Selective Service eterans) 11355 Motor Vehicle ithdrawa a ;
0850 Securities/Commodities/]O 153 Recovery of Product Liability |... USC 157 __ Agriculture
Exchange Overpayment of (1360 Other Personal | MRNGINALIRIGHTSIG C1 620 Other Food &
0875 Customer Challenge 12 Veteran’s Benefits Injury 0441 Voting Drug
USC 3410 (160 Stockholders’ Suits (1362 Personal Injury. {1442 Employment [1625 Drug Related
890 Other Statutory Actions | 190 Other Contract Med Malpractice 0 443 Housing/Acco- Seizure of pe RITY. >
0891 Agricultural Act 01195 Contract Product (1365 Personal Injury- mmodations Property 21 USC JO 861 HIA eae
0892 Economic Stabilization Liability Product Liability |0444 Welfare 881 D 862 Black Lung (923)
Act i 196_ Franchise 11368 Asbestos Personal {445 American with |(1630 Liquor Laws 0 863 DIWC/DIWW
(893 Environmental Matters |) ~ REAL PROPERTY — Injury Product Disabilities -  |0640 RR. & Truck (405(g))
0 894 Energy Allocation Act 11210 Land Condemnation Le Liability Employment 0650 Airline Regs 0 864 SSID _ XVI
11895 Freedom of Info. Act {11220 Foreclosure )) IMMIGRATION °F |0 446 American with {1 660 Occupational
11900 Appeal of Fee Determi- 11230 Rent Lease & Ejectment | 462 Naturalization Disabilities - Safety /Health JERAL TAK
nation Under Equal 0240 Torts to Land Application Other 01690 Other qd 870 tame 0. S. Plaintiff
Access to Justice (245 Tort Product Liability [2463 HabeasCorpus- [440 Other Civil or Defendant)
11950 Constitutionality of (290 All Other Real Property Alien Detainee Rights 0871 IRS-Third Party 26
State Statutes 0 465 —. USC 7609

 

 

 

 

 

 

 

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FOR OFFICE USE ONLY: — Case Number:

AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

 

 

CV-71 (05/08) CIVIL COVER SHEET Page | of 2
Case 2:08-cv-07879-PSG-RZ Document1 Filed 12/01/08 Page 12 o0f12 Page ID #:12

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

VIII(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? No 0 Yes
If yes, list case number(s):

 

VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? MNo OYes
If yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) OA. Arise from the same or closely related transactions, happenings, or events, or
CB. Call for determination of the same or substantially related or similar questions of law and fact; or
OC. For other reasons would entail substantial duplication of labor if heard by different judges; or
COD. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
CO Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).

Lone in this District:* California County outside of this District; State, if other than California, or Foreign Country

 

 

s Angeles

 

(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
O) Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

Los Angeles

 

 

 

(c) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

 

 

 

 

 

 

 

 

County in this District:* California County outside of this District; State, if other than California, or Foreign Country
}Los Angeles
* Los Angeles, Orange, San Bernardino, Riverside, Ventura, SantaBar r San Luis Obispo Counties
Note: In land condemnation cases, use the location of the tract of lan
X. SIGNATURE OF ATTORNEY (OR PRO PER): S Date {ha4 &

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Shee he information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:
Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C. (g))

 

CV-71 (05/08) CIVIL COVER SHEET Page 2 of 2
